                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA ex rel, )
Martin Schell,                           )
                                         )
and                                      )
                                         )
Martin Schell, individually,             )                   Civil No. 12-4019-CV-C-NKL
                                         )
                      Relator/Plaintiff, )
                                         )                   UNDER SEAL
               v.                        )
                                         )
BLUEBIRD MEDIA, LLC,                     )
                                         )
and                                      )
                                         )
BLUEBIRD NETWORK, LLC                    )
                                         )
                      Defendants.        )

                    THE GOVERNMENT’S NOTICE OF ELECTION TO
                            DECLINE INTERVENTION

       Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States notifies

the Court of its decision not to intervene in this action.

       Although the United States declines to intervene, we respectfully refer the Court to 31

U.S.C. § 3730(b)(1), which allows the relator to maintain the action in the name of the United

States; providing however, that the “action may be dismissed only if the court and the Attorney

General give written consent to the dismissal and their reasons for consenting.” Id. Therefore,

the United States requests that, should either the relator or the defendant propose that this action

be dismissed, settled, or otherwise discontinued, the Court solicit the written consent of the

United States before ruling or granting its approval.




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         Pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all pleadings filed in

this action be served upon the United States; the United States also requests that orders issued by

the Court be transmitted to counsel for the United States. The United States reserves the right to

order any deposition transcripts, to intervene in this action for god cause at a later date, and to

seek the dismissal of the realtor’s action or claim.    The United States also requests that it be

served with all notices of appeal.

         The Government requests that the relator’s Complaint, this Notice, and the Court’s Order

issued as a result of this Notice be unsealed. The United States requests that all other documents

on file in this action remain under seal because in discussing the content and extent of the United

States’ investigation, such papers are provided by law to the Court alone for the sole purpose of

evaluating whether the seal and time for making an election to intervene should be extended. Cf.

United States ex rel. O’Keefe v. McDonnell Douglas Corporation, 902 F. Supp. 189 (E.D. Mo.

1995).

         A proposed order will be submitted.

                                                        Respectfully submitted,

                                                        David M. Ketchmark
                                                        Acting United States Attorney


                                               By       /s/ Thomas M. Larson
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                                                        ATTORNEYS FOR
                                                        THE UNITED STATES


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